Case 15-80447 Doc 34-1 Filed 05/31/17 Page 1 of 14

1661 Worthington Road, Suite 100
' V\/est Palrn Beach, FL, 33409
Toll Free: 800,746.2936

chen Loan Servicing, LLC
\A/WW.OCWEN.COi\/|
He/ping Horneowners is Whot We Do! m

 

 

3/23/2017

 

Account Nurnber: '1,.;"

Wootton And \/\/ootton
3200 Croasdaile Dr. Ste 504
Durham, NC 27705

Borrower l\lame : Reginald Holding
Samantha l-lolding

Property Address: 1125 Lawrence Rd
Creed moor NC 27522-9780

iNFORMATlON REGARD!NG A REQUEST FOR MORTGAGE ASSlSTANCE

\/\/li Al"€ chen l_oan Servicing, LLC recentl received a request for mortgage assistance from a borrower whom ou
\/ V
We represent in an active bankruptcy case included with this notice, is correspondence which explains the status of
the review and any necessary next steps

Sending
This Letter

h P|ease be aware, the notice may include deadlines, by which the borrower must respond in order to continue the
W at review process or receive an assistance option. |f additional time is needed, please contact our office at the

NE€dS TO number below.
Be Done

 

if you have any questions, please call us at toll»free at 888.554.6599. We are available Monday through Friday 8 am to 9 pm ET.

Sincerely,

Loan Servicing

 

NMLS ii 1852 BK~C\/L
This communication is from a debt collector attempting to collect a debt,' any information obtained will be used for that purpose
However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property lt is not intended as an
attempt to collect a debt from you personaliy.

Page 1 of 1

Case 15-80447 Doc 34-1 Filed 05/31/17 Page 2 of 14

    

 

chen Loan Sei"\/icing, LLC 1661 WOrfhins`LOH ROa<L St€_ 100

W'WW.OCWEN,COM West Palrn Beach_1 FL 33409

. Helping Homeowners is Whal We Do_-' TM you pr€e; (300) 746_2936
o c W e m
5/l 1/2017

Loan Nurnber:

 

To: brent@ncbills_com

Subject: Docurnents requested

“Enclosed is the copy of the document you requested”

IF YOU RECEI\/E T/~/]S FAX/EMA[L ll\/ ERROR, PLEASE DESTROY/DELEI`E /_HE MATER]ALS IMMEDIATELY,

Cont`idential`rty i\lotice: This E-mai|/Facsimile message and any attachments are intended solely for the use of the addressee hereof
and may contain information that is conl"idential, privileged and/or exempt from disclosure under applicable law_ Delivery of this
message to any person other than the intended recipient shall not constitute a waiver of any right, privilege or exemption lf you are
not the intended recipient, please immediately and permanently delete this message from your system without reproducing or

disclosing it to any third party`

706233079z 1924708026, Correspondence/APPROVAL NOTIFICATION,

03/27/2017 ll;¢iO:OO

This communication is from a debt collector attempting to collect a debt; any information obtained Will be used for that purpose However,
if the debt is in an active bankruptcy case or has been discharged through bankruptcy this communication is purely provided to you for
informational purposes only With regard to our secured lien on the above referenced property lt is not intended as an attempt to collect a
debt from you personally

Pas@l Ni/tts # 1852

Case 15-80447 Doc 34-1 Filed 05/31/17 Page 3 of 14

We are here to help you!
Call toll-free: (800) 746-2936

WWW’O':WEN'CGM i\/lon»Fri B:OOam - 9:00pm, Sat 8:O0arn a S:OOpm
’ ‘ /TM
He/ping Homeowners is l/\/hot l/i/e Do. gun S:OOBm _ Q:Oopm g

OcWen Loan Servicing, LLC

   

o

0 C".",,'

 

EJ\‘

 

3/21/2017

 

Loan Number:

Reginald Holding
Samantha l-iolding

1125 Lawrence Rd
Creedmoor, l\lC 27522»9780

F'roperty Address:
1125 Lawrence Rd

Creeclmoor, NC 275 22»9780

LOAN MODIFECAT[ON AVA!LABLE TO YOU - WE CAN E_OWER YOUR PAYMEN`f
PLEASE READ CAREFULLY

Dear Customer(sl,

We have reviewed your loss mitigation application and the financial information you provided Your loan has been evaluated for all
loss mitigation options available We are pleased to offer you more affordable payments and the opportunity to stay in your home,
with the enclosed Loan i\/lod'rficatlon Agreement proposal (the ”Agreement”) for your loan referenced above.

TEME lS OF THE ESSENCE.

You must contact us at (800) 746-2936 or in Writing at the address provided below to confirm your intent to accept this offer
within 14 days of this notice, or aiternatively, submit your first Total Monthly Payment as defined in the enclosed offer within 14

days of this notice.

chen l_oan Servicing, LLC
A`l`l’N: l\/lortgage Assistance
1661 \I\/orthing'ton Road, Suite 100
West Palm Beach, Florida 33409

if you contact us or make the payment within 14 days of this notice, we will not refer your loan to foreclosure or if your loan has
been referred to foreclosure we will suspend the next legal action in the foreclosure proceedings

Please note, even if you notify us of your intent to accept the offer within 14 days of this notice, you must remit your Total i\/lonthly
Payment on or before the first payment date defined in the enclosed offer.

 

» ' SBALl$TlPl_\/Z.S
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose
However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property lt is not intended as an
attempt to collect a debt from you personally.

 

Page 1 NML$#lS§Z

Case 15-80447 Doc 34-1 Filed 05/31/17 Page 4 of 14 _

We are here to help you!
Cali toll-free: (300) 746-2936
l\/lon~Fri 8:00am - 9:00pm, Sat 8:00am ~ S:OOprn
Sun 9:00arn ~ 9:00pm Fl'

Christopher Hall has been assigned as your relationship manager and will be your designated representative for resolution inquiries
and submission of documents

chen l_oan Servicing, ttC
WWW_OCWEN.COl\/i
Help/'ng Horneowners /`s lf\/hat l/‘\/e Do! ”‘

 

lf you have any duestions, please contact us at (300) 746~2936. We are available i\/londay to Friday 8:00 am to 9:00 pm, Saturday 8:00
am to 5:00 pm or Sunday 9:00 am to 9:00 pm ET.

Sincerely,
l_oan Servicing

 

z

, seALLsnPi_vz_s
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose

l~lowever, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to

you for informational purposes only with regard to our secured lien on the above referenced property lt is not intended as an
attempt to collect a debt from you personally '

Page 2 NMLS#;BSZ

Case 15-80447 Doc 34-1 Filed 05/31/17 Page 5 of 14

 

_ _ We are here to help youi
0 GCWEH LOBn S€W{Cmg' U`C Call toll-tree: (800} 746»2936
WWW'GCWEN'COM l\/lon»Fri 8:00am ~ §:00pm, Sat S:OOam » 5:00pm
OC E m Helping Homeov\/ners is Whot l/l/e Do_/ m

Sun 9:00arn f 9:00pm ET

 

PAY!VIENT REN||TTANCE lNFGR|\/lAT|ON

PLEASE DON'T FDRGET TO:
1. l\/lal<e checks payable to 0cwen Loan Servicing, LLC.
2. A|vvays include your loan number With your payment

O\/ERNlGHT DELl\/ERY MONEY GRAM
(Money Order, Personal Check, or Certified Check) RECE!VER CODE: 2355
Ocvven l_oan Servicing, LLC PAVABLE TO: Ocv\/en Loan Servicing, LLC
Attn: Cashiering Department ClT`x/: Orlando
Box # 660264 STATE: Florida
1010 \/\/. i\/locl<ingbird Ln., Suite 100 REFERENCE: |_oan Number
Dallas, TX 75247 AGENT LOCATOR: (SOO) 926-9400
BANK WIRE WESTERN UNlON
BANK: Wells Fargo Banl<, l\lA B\' WUQC
ABA: 121000248 CODE CITY: Ocv\/en
ACCGUNT NAME: GCWen Loan Servicing, LLC in Trust for STATE: FL
\/arious Investors and i\/lortgagors REFERENCE: Loan Number 706233079

ACCOUNT NUMBER: 4124823352
REFERENCE: Loan Number, Property Address, and Borrovver
l\larne
EMA{L: Translertunds@ocvven.com vvith the details olthe
Wire

75@» saALLsnPl”\/z,s

This communication is from a debt collector attempting to collect a debt; any inlormation obtained Wi|l be used for that purpose
However, il the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to
you for informational purposes only vvith regard to our secured lien on the above referenced property lt is not intended as an
attempt to collect a debt from you personally

Page 3 /\/MLS#1852

Case 15-80447 Doc 34-1 Filed 05/31/17 Page 6 of 14

We are here to help you!
call roll~free; (300) 746-2936
i\/lon-Fri 8:00arn - 9:00p.m, Sat 8:00am a 5:00pm
Sun Q:OOam - 9:00pm Fi'

chen Loan Servicing, Ll_C
\/\/WW.OCWEN.COl\/l
He/ping Homeowners is i/i/hot l/l/e Do! "‘

 

 

NClN-APPRO\JAL N OTICE

Please note that after a careful review of the information you provided, we were not able to approve you for the loss mitigation
options beiow:

|n accordance with i\/iHA guidelines we are unable to review you for the HAMP program as OC\/\/EN was not in receipt of your
initial Pacl<age on or before December 30th, 2016. The HAi\/iP program was retired on December 315t, 2016.

|n accordance with i’\/lHA guidelines we are unable to review you for the HAMP program as OCWEN was not in receipt of your
initial Pacl<age on or before December 30th, 2016. The l-lAi\/iP program was retired on December 3lst, 2016.

We are unable to review you for the Shared Appreciation ivlodification program as the OCV\/EN SAM program was retired on
December Blst, 2016.

Q sai\ustiigt~vz_s

This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose
l-lowever, if the debt is in active bankruptcy or has been discharged through bankruptcy/ this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property lt is not intended as an
attempt to collect a debt from you personally

Page 4 NMLS#I 852

Case 15-80447 Doc 34-1 Filed 05/31/17 Page 7 of 14

We are here to help youi
Call to!l~free: (BDU) 746-2936
l\/ion-Fri 8:00am - 9:00prn, Sat 8:00am ~ 5:00pm
Sun 9:00arn - 9:00prn ET

chen l_oan Servicing, Ll_C
WWW,OCWEN.COl\/l
He/ping Horneowners is ill/hot We Do! m

 

 

y OPPORTUN|TY TD APPEAL

What should you do if you disagree with the reason€s) for non-approval?
lf you disagree with the reason(s) for non»approval, please contact us at:

chen l_oan Servicing, l_LC
Escalations Department
P.O, Bo)< 785061
Orlando, F|_ 32878»5061
Ernail: escalatedcases@ocwen.com

  

77 SBAL|_S`|'|Pl_‘vZ.S
Thiscommunication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose
l~lowever, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property lt is not intended as an
attempt to collect a debt from you personally

Page 5 N l\/lLS#lSBZ

Case 15-80447 Doc 34-1 Filed 05/31/17 Page 8 of 14

We are here to help you!
Call toll-free; (800) 746-2935

WWW~OCWEN‘COM iv\@n-rri s;ooam ~ szoopm, sat s;ooam ~ s:t)ppm
. * /YM
Helping Horneowriers is Whot i/l/e Do. gun 9:003m g BZDOpm ET

chen Loan Servicing, LLC

 

 

ADDiTlONAL l_EGAL DiSCLOSURES

Notice Regarding Bankruptcy: Please be advised that if you are part of an active Bankruptcy case or if you have received an Order
of Discharge from a Bankruptcy Court, this letter is in no way an attempt to collect either a pre-petition, post-petition or discharged
debt. if your bankruptcy case is still active, no action will be taken in willful violation of the Autornatic Stay. if you have received an
Cirder of Discharge in a Chapter 7 case, any action taken by us is for the sole purpose of protecting our lien interest in the underlying
mortgaged property and is not an attempt to recover any amounts from you personally Finaliy, if you are in an active Chapter 11, 12
or 13 bankruptcy case and an Order for Reiief from the Automatic Stay has not been issued, you should continue to make payments
in accordance with your pian.

Notice Regarding Credit Discrimination: i'he Federal Equa| Credit Opportunity Act prohibits creditors from discriminating against
credit applicants on the basis of race, coior, religion, national origin, sex, marital status, age (provided the applicant has the capacity
to enter into a binding contract), because all or part of the applicant's income derives from any public assistance program, or
because the applicant has in good faith exercised any right under the Consumer Cred`rt Protection Act. The federal agency that
administers compliance With this law concerning this creditor is Federal `i'rade Commission, Equa| Credit Opportunity, Washington,
|D.C. 20580.

Notice Regarding Tax Consequences of Nlortgage Assistance Options: Your acceptance of a Loan i\/lodification, Short Saie, or Deed-
in-i_ieu of Foreciosure may result in federal, state, or local tax consequences to you and/or affect your eligibility for any public
assistance benefits We cannot advise you on these impacts and encourage you to contact a tax professional to discuss any
questions you may have,

North Carolina Residents: if you believe the loss mitigation request has been Wrongly
denied, you may file a complaint with the North Carolina Office of the Commissioner of
Banks Website, Www.nccob.gov.

v SBALLSTiPl_vZ.S
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose
However, if the debt is in active bankruptcy or has been discharged through bankruptcy this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property it is not intended as an
attempt to collect a debt from you personally

 

Page 6 NMLS#ISSZ

Case 15-80447 Doc 34-1 Filed 05/31/17 Page 9 of 14

We are here to help youi
Call toll-free: (800) 746-2936
Mon-Fri S:OOam - 9:00pm, Sat 8:00am v 5:00pm
Sun 9:00arn » 9:00pm ET

chen Loan Servicing, LLC
WWW.OCWEN.COl\/l
He/pirig Homeowners is l/l/hot We Do! m

 

 

FOR ADDIT!ONAL ASS|STANCE

When you are experiencing a financial hardship, housing counseling may be a way to help you manage your finances \A/e urge you
to contact l-iUD approved agencies to obtain assistance in keeping your home. This assistance is available at no charge

HUD Approved Housing Counseling 1»800-569-4287 www.l-iUD,gov
Homeowner’s HOPE Hotline Nurnber 1»888-995-4673 www.hopenow.com
Fannie Mae Assistance Program www.knowyouroptions.com

Cal| our Customer Care Center at 1»800»746-2936 to discuss your options You can get information about any of these Aiternatives
to Foreclosure, and you can set up time to meet with your Re|ationship Nianager, Christopher Hail. We are available Monday
through Friday 8:00 am to 9:00 pm, Saturday 8:00 am to 5:00 pm and Sunday 9:00 am to 9:00 pm ET.

For Borrowers in North Corolino:
The North Carolina Comrnissioner of Banks website provides resources related to avoiding foreclosure To access these
resources, click on the 'Need Foreclosure Help?' link on the homepage.

http://www.nccobigov/pubiic/

if you would like to submit a qualified written request, a notice of error, or a request for information you must use the following
address:
Research Department
PO Bo>< 24736
V\/est Paim Beach, FL 33416~4736

,J

m sBAusrii>l_vz,s
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose
l-iowever, if the debt is in active bankruptcy or has been discharged through bankruptcy this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property it is not intended as an
attempt to collect a debt from you personally

Page 7 l\ll\/i LS#1852

Case 15-80447 Doc 34-1 Filed 05/31/17 Page 10 of 14

We are here to help you!
Call toll-free: (800) 746-2936

WWW‘OCWEN`COM wion-rn s:ooam » si;oopm, sat szooam v szoopm
' l ' l TM
He/,oing /-/omeowners is i/l/hot i/i/e Do. gun S:Ooam _ Q:DOpm ET

chen Loan Servicing, LLC

 

 

OC\'VEN

3/21/2017

|_oan Number: W

Reginaid Ho|ding
Samantha i-iolding
1125 i_awrence Rd
Creedmoor, i\lC 27522-9780
Prope.§\_i Address:

1125 i_awrence Rd
Creedmoo r, NC 27522-9780

PROPOSED MODlFlCATlON AGREEMENT

Dear Borrower(s):
Enclosed please find a proposed modification agreement (the ”Agreement') on your loan referenced above for your review

and consideration.
in order to accept this modification on your loan, you must complete ALL of the following steps on or before 5/1/2017, ("Due

Date"):

1. SlGN the bottom of the Agreement on the line(s) for the Borrower(s);

2. FAX the fully executed Agreement to: Attention: Home Retention Department
(407) 737- sess
3. PAY the full down payment in the amountof: 5941_77

[See Poyrnent instructions Attoched]
4. NEW MONTHLY PAYMENT:

Principal and interest Payment $743.78
Escrow Payment $197.99
Total 5941_77
taxing on 6/1/2017
5. SEND proof of insurance coverage* Attemi©n: ESUOW Depamnem
(Send proof of insurance ONLY to Escrow FEX: (888}_882_1816
Dept' DO NOT include the Agreeme"t'l E~.mail: M;dateinsuranceinfo@ocwen.com

 

Proof of insurance and the Agreement must be sent separately to the correct departments using the far numbers provided
above. if your loan is not currently escrowed, you must provide chen Proof of insurance (Dec|aration Pagel on or before
5/1/2017_ if no proof of insurance is received by 5/1/2017, an insurance policy will be lender~placed with the monthly cost
included in your mortgage payment The cost of lender~placed insurance may be more expensive than insurance you may obtain

for you rseif,

§ ssALLsri'Ptlj"v""z_-s- v
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose
i-iowever, if the debt is in active bankruptcy or has been discharged through bankruptcy this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property lt is not intended as an
attempt to collect a debt from you personally

 

Page l NM|_S#IBSZ

Case 15-80447 Doc 34-1 Filed 05/31/17 Page 11 of 14

_ We are here to help youl

 

§O§ OCW€n Loan gen/long LLC Calltoll»free: (800)745»2936
WWW-OCWEN'COM ivion'rn s:opam » 9:00pm, sat a:ooam ~ s:oopm
0 C W § N He/pirig Homeowriers is l/l/hot l/i/e Do./ gun S§Ooam g B:DGpm ET

 

`Hme is of the essence on this offer if ALL of the items above are not completed by the Due Date, the Agreement shall have no
force or effect and any down payment received will be returned to you, Please be advised that chen Loan Servicing, LLC will not
delay, postpone or otherwise stop any collection efforts until ALL of the steps above have been completed

if you have any questions or require additional information, please contact the Customer care center at (877) 596-8580.\/\/e are
available i\/ionday through Friday 8:00 am to 9:00 pm, Saturday 8:00 am to 5:00 pm and Sunday 9:00 am to 9:00 pm ET,

Sincerely,

Loan Servicing

PA\/l\/lENT REMliTAl\lCE lNFORNlATlON
1. l\/iake checks payable to chen Loan Servicing, LLC.

2. Always include your loan number with your payment

OVERNiGHT DEl_i\/ERY (Personal CheckL NioneyOrcler & Certified Checl<sl
OCWEN LOAN SER\/lClNG, |_l_C
A`l_fl\l: CASHlERlNG DEPARTMENT
BoX # 660264
1010 W. lviockingbird Ln., Suite 100
Dallas, TX 75247

MONE\' GRAM RECEl\/ER BANK WlRE
CODE: 2355 BANK: \A/elis Fargo Bank, NA
PA\’ABLE TG: OCWEN LOAl\l SER\/lClNG, LLC ABA: 121000248
CiT\': ORLANDO ACCOUNT NAME: chen Loan Servicing l.LC
STATE: FLORlDA ACCOUNT l`\lUMBER: 4124823352
REFERENCE: I_OAN i\lUi\/iBER REFERENCE: Loan Number, Property
AGENT LOCATER: (800) 926-9400 Address, and Borrower i\lame

Email: Transferfunds@ocwen.corn with
B¥ WU C the details of the wire.
Code City: chen

State: Fl_

 

Attn: Home Retention Department

v SBALLSTlPl»vZ.E
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose
i-iowever, if the debt is in active bankruptcy or has been discharged through bankruptcy this communication is purely provided to
you for informational purposes only with regard to our secured lien on»the above referenced property lt is not intended as an
attempt to collect a debt from you personally

 

 

Page 2 i\'l\/ll_S#lSSZ

Case 15-80447 Doc 34-1 Filed 05/31/17 Page 12 of 14

We are here to help you!
Cali toll-free: (800} 746'2936
l\/ion~Fri S:OOam ~ 9:00pm, Sat B:OOam » 5:00pm
Sun 9:00am ~ S:OGpm U

chen Loan Servicing, LLC
w\/vvv.Ocv\/EN.cOM
Helping Homeowners is Whot l/l/e Do! T"

 

 

LOAN MOD!F!CAT|ON AGREEMENT

chen l_oan Sen/icing, Ll_C (”chen") is offering you this Loan l\/lodification Agteement ("Agreernent”), dated 3/21/2017, which
modifies the terms of your home loan obligations as described in detail below:

A. the Mortgage, Deed of Trust, or Security Deed ithe ”i\/iortgage”), dated and recorded in the public records of
Granville County, and

B. the Note, of the same date and secured by the i\/lortgage, which covers the real and personal property described in the
iv‘lortgage and defined therein as the ”Property", located at 1125 Lawrence Rd, Creedmoor, NC 27522~9780.

Pursuant to our mutual agreement to modify your Note and i\/iortgage and in consideration of the promises, conditions, and terms
set forth below, the parties agree as follows:

1. You agree that the new principal balance due under your modified Note and the i\/lortgage will be $185,155.96. Upon
mod`rfication, your Note will become contractually current

2_ You promise to make an initial payment in the amount of $941.77 on or before 5/1/2017, after which you will commence
payments of principal and interest in the amount of $743.78 beginning on 6/1/2017 and continuing on the same day of
each succeeding month until all amounts owed under the Note and i\/lodification are paid in fu|i.

3. You will be required to pay to chen, until such time the loan is paid in ful|, a sum to provide for payment of amounts due for li)
yearly taxes and assessmenE which may attain priority over the Security instrument as a lien on the Property, and (iil yearly hazard
or property insurance premiurns, all in accordance with die terms and conditions of the Security instrument A waiver of this
requirement by chen as of the Effective Date shall not constitute a waiver of such requirement at any future date, and chen
specifically reserves the right, in its Sole and absolute discretion, to impose such requirement at any time upon written notice to
you.

4. Upon i\/iodification, the annual rate of interest charged on the unpaid principal balance of your loan will be 3.00001% . This rate will
remain in effect until the maturity date of your loan.

5. You promise to make payments of principal and interest on the same day of each succeeding month until 4/1/2037, at
which time a final balloon payment in an amount equal to all remaining amounts under the Note and i\/lodification will be due

6, You will comply with all other covenants agreements and requiremenE of your i\/iortgage, including without limitation, the
covenan‘s and agreements to make all payments of taxes, insurance premiums, assessments escrow items, impounds and all
other payments th at you are obligated to make under the i\/iortgage, except as otherwise provided herein.

7. if you sell your property refinance or otherwise payoff your loan during the 12 months following the date of i\/iodification, the
l\/lodification will be voidable at the sole option of chen and all amounts owed under the obligations existing prior to the
i\/iodification will be due and owing

8. You understand and agree that:

(a) Ail the rights and remedies, stipulations and conditions contained in your l\/iortgage relating to default in the making of
paymenE under the i\/lortgage will also apply to default in the making of the modified payments here under.

 

seAtcstii>l~vz.s
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose
l-iowever, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property it is not intended as an
attempt to collect a debt from you personally

 

Page 3 Nl\/ll$#lSSZ

Case 15-80447 Doc 34-1 Filed 05/31/17 Page 13 of 14

We are here to heip you§
Call toll-freer (800) 746~2936

 

chen Loan Servicing, tl_C

 

 

 

b WWW-OCWEN'CO'V' rvion»rn szooam » 9:oopm, sat S:ooam ~ szoopm
ocie ii Help/ng Homeowners is Whot We Do! m gun gooam _ S,Oopm ET
(b) All covenants, agreemenE, stipulations and conditions in your l\lote and l\/lortgage will remain in full force and effect,

lCi

ldl

except as herein modified, and none of the your obligations or liabilities under your Note and l\/lortgage will be
diminished or released by any provisions hereof, nor will this Agreement in any way impair, diminish or affect any of
chen's rights under or remedies on your Note and l\/lortgage, whether such rights or remedies arise there under or by
operation of law. Also, all rights of recourse to which chen is presently entitled against any property or any other
persons in any way obligated for, or liable on, your Note and i\/lortgage are expressly reserved by chen.

Any expenses incurred in connection with the servicing of your loan, but not yet charged to your account as of the date of

this Agreement, may be charged to your account after the date of this Agreement.

l\lothing in this Agreement will be understood or construed to be a satisfaction or release in whole or in part of your
Note and l\/lortgage.

(e) You agree to make and execute such other documents or papers as may be necessary or required to effectuate the terms

and conditions of this Agreement which, if approved and accepted by chen, will bind and inure to your heirs, executors,
administrators and assigns

Vou understand that this agreement is legally binding and that it affects your rights. You confirm that you have had the
opportunity to obtain independent legal counsel concerning this Agreement and are signing this Agreement voluntarily and
with full understanding of its contents and meaning

Corrections and Omissions: You agree to execute such other and further documents as may be reasonably necessary to
consummate the transactions contemplated herein or to perfect the liens and security interests intended to secure the
payment of the loan evidenced by the Note.

 

 

 

 

chen Loan Servicing, LLC l Reginald Holding
>/
Authorized Officer igalmamhg plotde

aware sa/.\ustipl_vzs

This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose
l-lowever, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property. lt is not intended as an
attempt to collect a debt from you personal|y.

Page 4 Nl\/ll_S#lSEZ

Case 15-80447 Doc 34-1 Filed 05/31/17 Page 14 of 14

We are here to help youi
Cail toil-free: (SOO) 746-2936
i\/ion»Fri StOOam v 9:OOpm, Sat 8:00am - S:UOpm
Sun 9:00am - 9:OOpm ET

chen Loan Servicing, l_LC
WWW,OCWEN`COl\/l
He/ping Homeowners is Whot i/l/e Do! ”"

 

 

OC"~"»'EN

 

3/21/2017
Lo an Number:

 

Reginald Holding
Samantha l-lolding

1125 Lawrence Rd
Creedmoor, NC 27522-9780

Property Address:
1125 Lawrence Rd

Creedmoo r, NC 27522-9780

BALLOON DiSCtOSURE

The loan modification for which you have applied contains a balloon provision This means that even if you make all payments full
and on time, the loan will not be paid in full by the final payment date. Your estimated balloon payment amount is 593,4~49.63 and
will be due in a single payment on 4/1/2037, provided that all payments are made in accordance with the loan terms and the
interest rate does not change for the entire loan term. `|'he balloon payment may vary depending on your payment history and, if
you have an adjustable rate mortgage, any interest rate changes that occur during the life of the loan.

Neither chen Loan Servicing, LLC nor any lender to which your loan is transferred or assigned is under any obligation to finance the
amount of the balloon payment in addition, the value of the real estate securing this loan may change during the term of the loan.
On the date the balloon payment becomes due, the value of the real estate may not be sufficient to secure a new loan in an amount
equal to the balloon payment

l/we have read the above disclosure and acknowledge receivinga copy by signing below.

 

 

chen Loan Ser\/icing, l_LC k Reginald Holding

By:

 

 

Authorized Officer S/am'antha Holding

 

SBAL|_STlPl*\/Z.S
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose
However, if the debt is in active bankruptcy or has been discharged through bankruptcy this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property lt is not intended as an
attempt to collect a debt from you personally

 

Page 5 N l\/l LS#lSSZ

